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                           UNITED STATES BANKRUPTCY COURT
                                      DISTRICT 1


In re:                                                      Case No. 14-08561-MCF
         CARMELO CAEZ CRUZ
         AMARILYS COLON FERNANDEZ
                Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        ALEJANDRO OLIVERAS RIVERA, chapter 13 trustee, submits the following Final
Report and Account of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The
trustee declares as follows:

         1) The case was filed on 10/17/2014.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 07/12/2018.

         6) Number of months from filing to last payment: 34.

         7) Number of months case was pending: 45.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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 Receipts:

        Total paid by or on behalf of the debtor            $23,700.00
        Less amount refunded to debtor                      $15,091.94

 NET RECEIPTS:                                                                                 $8,608.06


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                              $5,050.00
    Court Costs                                                            $0.00
    Trustee Expenses & Compensation                                    $1,719.56
    Other                                                                  $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                              $6,769.56

Attorney fees paid and disclosed by debtor:               $1,000.00


 Scheduled Creditors:
 Creditor                                    Claim         Claim           Claim       Principal       Int.
 Name                              Class   Scheduled      Asserted        Allowed        Paid          Paid
 AEE                           Unsecured      4,301.90            NA             NA            0.00        0.00
 AMARILYS COLON FERNANDEZ      Unsecured            NA            NA             NA            0.00        0.00
 BAYVIEW LOAN SERVICING        Secured             0.00           NA       70,638.30           0.00        0.00
 BAYVIEW LOAN SERVICING        Secured       23,365.75            NA       23,365.75           0.00        0.00
 CRIM                          Unsecured           0.00           NA           64.67           0.00        0.00
 DEPARTMENT OF TREASURY        Unsecured           0.00           NA        8,360.62           0.00        0.00
 DEPARTMENT OF TREASURY        Priority            0.00           NA       23,833.84           0.00        0.00
 DEPARTMENT OF TREASURY        Secured             0.00           NA            0.53           0.00        0.00
 ECMC                          Unsecured           0.00           NA        3,833.25           0.00        0.00
 ECMC                          Unsecured           0.00           NA        3,239.04           0.00        0.00
 NCO FINANCIAL SYSTEMS OF PR   Unsecured         633.00           NA             NA            0.00        0.00
 RELIABLE FINANCIAL SERVICES   Secured       24,328.98            NA        1,838.50      1,838.50         0.00
 SPRINT NEXTEL DISTRIBUTIONS   Unsecured           0.00           NA          632.69           0.00        0.00
 US DEPARTMENT OF EDUCATION    Unsecured           0.00           NA          868.42           0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal           Interest
                                                            Allowed               Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                       $0.00              $0.00              $0.00
       Mortgage Arrearage                                $23,365.75              $0.00              $0.00
       Debt Secured by Vehicle                                $0.00              $0.00              $0.00
       All Other Secured                                 $72,477.33          $1,838.50              $0.00
 TOTAL SECURED:                                          $95,843.08          $1,838.50              $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00               $0.00             $0.00
        Domestic Support Ongoing                              $0.00               $0.00             $0.00
        All Other Priority                               $23,833.84               $0.00             $0.00
 TOTAL PRIORITY:                                         $23,833.84               $0.00             $0.00

 GENERAL UNSECURED PAYMENTS:                             $16,998.69               $0.00             $0.00


Disbursements:

         Expenses of Administration                             $6,769.56
         Disbursements to Creditors                             $1,838.50

TOTAL DISBURSEMENTS :                                                                        $8,608.06


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 07/17/2018                             By:/s/ ALEJANDRO OLIVERAS RIVERA
                                                                Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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14-08561-MCF                                             CERTIFICATE OF MAILING

The undersigned hereby certifies that a true copy of the foregoing document was mailed by first class mail
or electronically sent to the parties listed below:

CARMELO CAEZ CRUZ
AMARILYS COLON FERNANDEZ
URB MONTECIELO
102 JOSE E PEDREIRA
CAGUAS, PR 00725

AEE
PO BOX 364267
SAN JUAN, PR 00936-4267

BAYVIEW LOAN SERVICING
4425 PONCE DE LEON 5TH FL
CORAL GABLES, FL 33146

NCO FINANCIAL SYSTEMS OF PR
PO BOX 15520
WILMINGTON, DE 19850-5520

RELIABLE FINANCIAL SERVICES
PO BOX 21382
SAN JUAN, PR 00928-1382

RELIABLE FINANCIAL SERVICES
C/O CARLOS E PEREZ PASTRANA
PO BOX 21382
SAN JUAN, PR 00928-1382

EASTERN AMERICA INSURANCE CO
PO BOX 9023862
SAN JUAN, PR 00902-3862

BAYVIEW LOAN SERVICING LLC (BAYVIEW)
DELGADO FERNANDEZ LLP
PO BOX 11750
FERNANDEZ JUNCOS STATION
SAN JUAN, PR 00910-1750

SPRINT NEXTEL DISTRIBUTIONS
ATTN BANKRUPTCY DEPT
PO BOX 3326
ENGLEWOOD, CO 80155-3326

SPRINT NEXTEL CORRESPONDENCE
ATTN BANKRUPTCY DEPT
PO BOX 7949
OVERLAND PARK, KS 66207-0949




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ECMC
LOCKBOX 8682
PO BOX 16478
ST PAUL, MN 55116-0478

ECMC
PO BOX 16408
ST PAUL, MN 55116-0408

BAYVIEW LOANSERVICING LLC
ATTN CASHIERING
4425 PONCE DE LEON BLVD
CORAL GABLES, FL 33146

CRIM
PO BOX 195387
SAN JUAN, PR 00919-5387

US DEPARTMENT OF EDUCATION
NATIONAL PAYMENT CENTER
PO BOX 105028
ATLANTA, GA 30348-5028

US DEPARTMENT OF EDUCATION
PO BOX 16448
ST PAUL, MN 55116-0448

DEPARTMENT OF TREASURY
BANKRUPTCY SECTION (424 B)
PO BOX 9024140
SAN JUAN, PR 00902-4140

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DEPARTMENT OF TREASURY
BANKRUPTCY SECTION (424 B)
PO BOX 9024140
SAN JUAN, PR 00902-4140

                                      /S/Hector Perez
DATED: July 17, 2018                  OFFICE OF THE CHAPTER 13 TRUSTEE




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